Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 1 of 9 PageID #: 1




                                                   21-cv-1848
Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 2 of 9 PageID #: 2
Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 3 of 9 PageID #: 3
Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 4 of 9 PageID #: 4
Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 5 of 9 PageID #: 5
Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 6 of 9 PageID #: 6
Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 7 of 9 PageID #: 7
Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 8 of 9 PageID #: 8
Case 2:21-cv-01848-JDC-KK Document 1 Filed 06/17/21 Page 9 of 9 PageID #: 9
